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                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

SAIM SARWAR,                                                    )   No. 2:20-cv-01393 CB
                          Plaintiff,                            )
         v.                                                     )
HOTELS AND STUFF, INC., et al,                                  )
                           Defendants.                          )
-------------------------------------------------------------   )
DEBORAH LAUFER,                                                 )   No. 2:20-cv-01188-MRH
                           Plaintiff,                           )
         v.                                                     )
TRIBHUVAN REAL ESTATE LP,                                       )
                           Defendants.                          )
-------------------------------------------------------------   )
SAIM SARWAR,                                                    )
                           Plaintiff,                           )   No. 2:20-cv-01391-NR
         v.                                                     )
MOHAMMAD,                                                       )
                           Defendant,                           )
-------------------------------------------------------------   )
SAIM SARWAR,                                                    )
                           Plaintiff,                           )   No. 2:20-cv-01469-RJC
         v.                                                     )
MiLLENIUM HOTELS INC.,                                          )
                           Defendant.                           )
-------------------------------------------------------------   )
DEBORAH LAUFER,                                                 )
                           Plaintiff,                           )   No. 3:20-cv-0177-RJC
         v.                                                     )
KOVAKEN LLC,                                                    )
                           Defendant.                           )
-------------------------------------------------------------   )
SAIM SARWAR,                                                    )   No. 3:20-cv-00210 SLH
                           Plaintiff,                           )
         v.                                                     )
BEIDMAN, et al,                                                 )
                           Defendants.                          )
-------------------------------------------------------------   )

        MOTION PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 42(a)(2) TO
                               CONSOLIDATE

        Defendant Hotels and Stuff, Inc., in case 2:20-cv-1393-CB, by and through its undersigned

counsel, moves this Court to consolidate these identical cases:

             1. Defendant contacted counsel for the Plaintiff and via email advises he opposes the relief
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   requested in this motion.

2. Plaintiffs, by and through the Thomas A. Bacon law firm, using Tristan Gillespie, as

   counsel, filed several “half” class action lawsuits with the identical cookie-cutter

   language. That is, each lawsuit claims in the first paragraph to be filed individually and

   on behalf of others similarly situated, but no other class action allegations or compliance

   with Rule 23 is present.

3. However, as soon as an attorney appears for a defendant in the action, they receive a

   boilerplate settlement demand from counsel. The demand asks for attorney fees of

   $10,000 for a full release and $6,500 for a partial release.

4. Problematic is that Rule 23 prohibits this Court from allowing the settlement of a

   lawsuit on behalf of those “similarly situated” without court approval, notice to the class

   parties (those similarly situated), and a time period for objections. Even without

   certification as a class action, demanding excessive legal fees under the threat of a class

   action appears somewhat unethical.

5. More problematic is why counsel should receive $10,000 or $6,500 for a lawsuit that

   took less than 20 minutes to copy and paste and change the caption.

6. The facts of the lawsuits are identical: Some plaintiff allegedly accessed websites

   belonging to Expedia Group and Booking.com. While Plaintiff cites different websites,

   they are all owned by either Expedia or Booking. Specifically, Expedia owns the search

   engines known as Expedia, Orbitz, Tripadvisor, Hotwire, Travelocity, Bookety, and

   many others. Booking.com B.V. owns Booking.com, Priceline.com, and others.

   Whatever name is found in the Complaint, it belongs to either Expedia or Booking.

7. Plaintiffs' counsel never sues the website operators. The reason is obvious: Their

   proactive compliance departments would fix all the errors at once and Plaintiffs would

   need to identify all the alleged deficiencies at one time.
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             8. Moreover, Plaintiffs entered an arbitration agreement with Expedia Group as to all of

                 their affiliated websites. That arbitration agreement requires that they provide Expedia

                 sixty (60) days to fix the problems and to submit the dispute to arbitration. See Attached

                 Exhibit A.

             9. As the lawsuits are identical, there is no question that the facts are identical warranting

                 consolidation.

             10. With respect to common questions of law, the jurisdictional questions that exist in each

                 lawsuit are identical and include the following:


                       a. Whether Counsel is liable pursuant to 28 USC 1927 for filing hundreds of
                          cookie-cutter lawsuits in a manner to increase litigation costs, extract payments
                          to the firm for unjustified attorney fees, when consolidated lawsuits and/or
                          joining Expedia and Booking.com would resolve the hundreds of lawsuits
                          promptly and efficiently?

                       b. Considering that Plaintiffs are filing hundreds of cookie-cutter lawsuits
                          nationwide, and the Americans With Disabilities Act provides no provision for
                          damages, whether an unlawful fee splitting arrangement or other improper
                          financial incentive has been provided to the Plaintiffs by legal counsel?1

                       c. Whether this Court lacks jurisdiction considering that the real parties in interest
                          are the hotel search engines that entered into an agreement with Plaintiffs, yet the
                          indispensable parties Expedia Group and Booking.com B.V. are not named in
                          the case?


                        d. Whether this Plaintiffs must properly plead the Rule 23 requirements to proceed
                          on behalf of those “similarly situated?”

                        e. Whether Plaintiffs maintain constitutional standing to maintain this lawsuit?

             11. Consolidation will allow orderly discovery, reduced costs, coordinated motions, and

                 eliminate conflicting decisions.


1 Hotels and Stuff does not suggest that being an Americans with Disabilities Act “tester” is somehow improper.
  However, a person with a bona fide dispute regarding Expedia and Booking.com's websites would most porbably want
  to resolve the situation once and for all. Filing hundreds of lawsuits does not solve the problem with Expedia or
  Booking.com since plaintiffs deliberately omit the search engines as a party. Defendant ponders, “For what reason
  would a plaintiff sit all day banging on a computer keyboard finding hotels to sue if they were receiving no reward for
  doing so when a single lawsuit could have fixed the problem?”
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           12. This Court could also impose the proper advertising requirements so that Plaintiffs may

               proceed on behalf of others similarly situated as required by Rule 23.

           13. Finally, if the Plaintiffs prevail or settle the case, this Court can oversee the correct

               amount of attorney fees to award considering the major windfall of settling hundreds of

               cookie-cutter lawsuits nationwide – lawsuits that the various courts never had authority

               to compromise considering the suit was filed on behalf of “others” similarly situated

               without administering the cases as class actions.

           14. Consolidation will allow the Court can use its inherent power to control these cookie-

               cutter lawsuits to assure fair and consistent results.

       WHEREFORE, Defendant Hotels and Stuff Inc. respectfully requests that these actions be

consolidated for pretrial matters.

                                                              Respectfully submitted,


                                                              /s/ J. Allen Roth, Esq.
                                                              J. Allen Roth, Esq.
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                                                              ATTORNEY FOR HOTELS AND
                                                              STUFF INC.
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                                     CERTIFICATE OF SERVICE

       As all appearing parties are registered in the Court's ECF system, electronic notification will be

provided upon the filing of this motion.


                                                            /s/ J. Allen Roth, Esq.
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                                                            ATTORNEY FOR HOTELS AND
                                                            STUFF INC.
